                                                                            JS-6
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                             UNITED STATES DISTRICT COURT
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             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   6
        STORYTELLER PRODUCTION                    Case No. 2:24-cv-01664
   7    CO., LLC,
   8                  Petitioner,                 JUDGMENT
   9          v.
  10    AUDIENT CAPITAL GP LTD. and
        AUDIENT GLOBAL INVESTMENT
  11    FUND I, LP,
  12                  Respondents.
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  14
             In connection with its Amended Petition for Confirmation of Arbitration
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       Award (ECF No. 11), Petitioner Storyteller Production Co., LLC (“Petitioner”)
  16
       and Respondents Audient Capital GP Ltd. and Audient Global Investment Fund
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       I, LP (together, “Respondents”) have entered into a “Settlement Agreement and
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       Stipulation for Entry of Judgment” (the “Settlement Agreement”), as well as
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       separate Stipulation for Entry of Judgment (the “Stipulation”).
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             Petitioner has filed the Stipulation for Entry of Judgment on an ex parte
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       basis, as expressly permitted under the terms of the Stipulation. As is expressly
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       permitted under the terms of the Stipulation, Petitioner has also filed a
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       declaration from Christopher S. Floyd, Petitioner’s Chief Operating Officer and
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       General Counsel (the “Floyd Declaration”), testifying that the Settlement
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       Payment (as defined in paragraph 3 of the Stipulation was not made either by the
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       Payment Deadline or the Cure Deadline, as those terms are defined in the
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       Stipulation.
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             Based upon the terms of the Stipulation and the Floyd Declaration,
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   1           IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
   2      1. That Judgment is entered in favor of Petitioner and against Respondents,
   3         jointly and severally, in the following amounts:
   4            a. $15.5 million in damages;
   5            b. Prejudgment interest in the amount of $2,165,750.70 through the
   6               date of the Final Award;
   7            c. Further prejudgment interest at the daily rate of $4,246.57 for the
   8               period from the issuance of the Final Award on January 30, 2024,
   9               until today and, thereafter, from the date of entry of judgment until
  10               the Judgment is satisfied in full;
  11            d. Petitioner’s costs of mediation in the amount of $5,225; and
  12            e. Petitioner’s arbitration expenses in the amount of $31,832.
  13      2. That Respondents have waived any objection to venue, subject matter
  14         jurisdiction or personal jurisdiction for purposes of the entering the
  15         Judgment.
  16      3. That this Judgment is final for all purposes, and Respondents have waived
  17         any right to appeal or seek review of this Judgment by a higher court.
  18      4. The Court will retain jurisdictionn over the parties
                                                          parrties to enforce this Judgment.
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                                                      ____________________________
  20   Dated:
           d: ______________
              June 07, 2024
                                                              3HUF\$QGHUVRQ
                                                              3HUF\$QGHUVRQ
  21                                                    Unitedd States District Judge
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